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                         IN THE UNITED STATE DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

In re: TPC Group Inc et al.
                                           )
 Cerberus Capital Management L.P.          )
 Bayside Capital Inc.,                     )       Civil Action No. 1:22-cv-00927
                       Appellant,          )
                                           )
          v.                               )
                                           )       Bankruptcy Case No. 22-10493 (CTG)
  TPC Group Inc.                           )       Bankruptcy BAP No. 22-41
  The Ad Hoc Noteholder Group,             )       Bankruptcy ADV No. 22-50372 (CTG)
                    Appellee.



                                 NOTICE OF DOCKETING


A Notice of Appeal of the following Order of the Bankruptcy Court dated 7/8/2022 was docketed
in the District Court on 7/12/2022:

                       ORDER RESOLVING PENDING MOTIONS

In accordance with the Standing Order of the Court dated September 11, 2012, this case shall be
referred to a United States Magistrate Judge to determine the appropriateness of mediation.
Briefing will be deferred.

Documents prepared for mediation shall be submitted directly to the mediator and should not be
filed with the Clerk’s Office. Any attorneys of record who are not members of the Bar of this
Court shall associate with local counsel in accordance with District of Delaware Local Rule 83.5.
Upon the request of a Judge or a mediator, counsel shall supply paper copies of the designated
record.

                                                John A. Cerino
                                                Clerk of Court



/APK
Date: 7/13/2022
CC. U.S. Bankruptcy Court
       Counsel via CM/ECF
